B 1(Official Form 1) (4/10)
                              United States Bankruptcy Court
                                  WESTERN DISTRICT                                                                          Voluntary Petition
Name of Debtor (if individual, enter Last, First, Middle):                            Name of Joint Debtor (Spouse)(Last, First, Middle):
Brown, Jeremey K.                                                                     Brown, Lisa M.
All Other Names used by the Debtor in the last 8 years                                All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                           (include married, maiden, and trade names):


Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (If more than        Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (If more than
one, state all):                                                                      one, state all): 0683
7780
Street Address of Debtor (No. & Street, City, and State):                             Street Address of Joint Debtor (No. & Street, City, and State):
312 13th St                                                                           312 13th St
Gold Bar, WA                                                                          Gold Bar, WA
                                                      ZIPCODE: 98251                                                                       ZIPCODE: 98251
County of Residence or of the Principal Place of Business:                            County of Residence or of the Principal Place of Business:
Snohomish                                                                             Snohomish
Mailing Address of Debtor (if different from street address):                         Mailing Address of Joint Debtor (if different from street address):
312 13th St                                                                           312 13th St
Gold Bar, WA                                                                          Gold Bar, WA
                                                       ZIPCODE: 98251                                                                        ZIPCODE: 98251
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                             ZIPCODE:
            Type of Debtor                           Nature of Business                              Chapter of Bankruptcy Code Under Which
          (Form of Organization)                        (Check one Box)                                         the Petition is Filed:
                                                 ⁭ Health Care Business
                                                 ⁭ Single Asset Real Estate as
■ Individual (includes Joint Debtors)             defined in 11 U.S.C. 101(51B)       ■ Chapter 13
   See Exhibit D on page 2 of this form.
                                                 ⁭ Railroad
                                                 ⁭ Stockbroker
                                                 ⁭ Commodity Broker
                                                                                                               Nature of Debts
                                                 ⁭ Clearing Bank                      ■ Debts are primarily consumer debts, defined in 11 U.S.C §
                                                 ⁭ Other                              101(8)as 'incurred by an individual primarily for a personal,
                                                 ____________________                 family, or household purpose.'
                                                  Tax-exempt Entity
                                                 ⁭ Debtor is a tax-exempt
                                                   organization under Title 26 of
                                                   the United States Code
                   Filing Fee                                                                                       Chapter 11 Debtors
                                                                                      Check one box:
■ Full Filing Fee attached                                                            ⁭ Debtor is a small business as defined in 11 U.S.C. § 101(51D).
                                                                                      ⁭ Debtor is a not small business as defined in 11 U.S.C. § 101(51D).
                                                                                       Check if:
                                                                                      ⁭ Debtor ‘s aggregate noncontingent liquidated debts (excluding
                                                                                        owed to insiders or affiliates) are less than $2 million.
                                                                                      -----------------------------------------
                                                                                      Check applicable boxes:
                                                                                      ⁭ A plan is being filed with this petition.
                                                                                      ⁭ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                                            creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                           THIS SPACE IS FOR
                                                                                                                                                 COURT USE ONLY
■ Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be
no funds available for distribution to unsecured creditors.
Estimated Number of Creditors                          ■1 to 49

Estimated Assets                                                    ■$100,001 to $500,000

Estimated Debts                                                     ■$100,001 to $500,000




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B 1 (Official Form 1) (4/10)                                                                                                                                            Page 2
Voluntary petition                                                                           Name of Debtor(s):
(This page must be completed and filed in every case)
                                                                                             Jeremey K. Brown and Lisa M. Brown
                                    All Prior Bankruptcy Case Filed Within Last 8 Years (If more than one, attach additional sheet)
Location Where Filed:                                                             Case Number:                             Date Filed:

none
                    Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                                Case Number:                              Date Filed:

District:                                                                                    Relationship:                                Judge:

                                     Exhibit A                                                                                     Exhibit B
                                                                                                                   (To be completed if debtor is an individual
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and                               whose debts are primarily consumer debts)
10Q) with the Securities and Exchange Commission pursuant to Section 13 or                   I, the attorney for the petitioner named in the foregoing petition, declare that I
15(d) of the Securities Exchange Act of 1934 and is requesting relief under                  have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
chapter 11)                                                                                  or 13 of title 11, United States Code, and have explained the relief available under
                                                                                             each such chapter.
⁭ Exhibit A is attached and made a part of this petition                                     I further certify that I delivered to the debtor the notice required by § 342(b) of the
                                                                                             Bankruptcy Code.



                                                                                             /s/ Tom S. Hyde
                                                                                             Tom S. Hyde     November _16___, 2010
                                                                                    Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

□   Yes, and Exhibit C is attached and made a part of this petition

■   No
                                                                                    Exhibit D

■   Exhibit D completed and signed by the debtor is attached and made a part of this petition.

■   Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                           Information Regarding the Debtor - Venue
                                                                            (Check any applicable box)

                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
             ■      immediately preceding the date of this petition or for a longer part of such 180 days than in any other District

            ⁭       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District

            ⁭       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this
                    District, or has no principal place of business or assets in the United States but is a defendant in an action or proceeding
                    [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                     Certification by a Debtor who Resides as a Tenant of Residential Property
                                                                      (Check all applicable boxes.)
              □     Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)

                                                                                             (Name of landlord that obtained judgment)


                                                                                         (Address of Landlord)
              □     Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
                    monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
              □     Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
                    petition.




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B 1 (Official Form 1) (4/10)                                                                                                                                  Page 3
Voluntary petition                                                               Name of Debtor(s):
(This page must be completed and filed in every case)
                                                                                 Jeremey K. Brown and Lisa M. Brown
                                                                             Signatures
        Signature(s) of Debtor(s) (Individual/Joint)                                            Signature of a Foreign Representative of a
                                                                                                    Recognized Foreign Proceedings
I declare under penalty of perjury that the information provided
in this petition is true and correct.                                            I declare under penalty of perjury that the information provided in
[If petitioner is an individual whose debts are primarily                        this petition is true and correct, that I am the foreign representative
consumer debts and has chosen to file under chapter 7] I am                      of a debtor in a foreign main proceeding, and that I am authorized
aware that I may proceed under chapter 7, 11, 12, or 13 of title                 to file this petition.
11, United States Code, understand the relief available under
each such chapter, and choose to proceed under chapter 7.                        (Check only one box.)
[If no attorney represents me and no bankruptcy petition
preparer signs the petition] I have obtained and read the notice                 ⁭   I request relief in accordance with chapter 15 of title 11, United States Code.
required by § 342(b) of the Bankruptcy Code.                                         Certified copies of the documents required by § 1515 of title 11 are attached.


I request relief in accordance with the chapter of title 11,                     ⁭ Pursuant to § 1515 of title 11, United States Code, I request relief in
                                                                                     accordance with the chapter of title 11 specified in this petition. A certified
United States Code, specified in this petition.                                      copy of the order granting recognition of the foreign main proceeding is attached.



/s/ Jeremey K. Brown                                                             X Not Applicable                                      _
Jeremey K. Brown


/s/ Lisa M. Brown
Lisa M. Brown

November _16___, 2010
                 Signature of Attorney                                                        Signature of Non-Attorney Petition Preparer

in a case in which §707(b(4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the
                                                                                 I declare under penalty of perjury that: (1) I am a bankruptcy
information in the schedules is incorrect                                        petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
                                                                                 document for compensation and have provided the debtor with a
                                                                                 copy of this document and the notices and information required
/s/ Tom S. Hyde
                                                                                 under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
Tom S. Hyde
                                                                                 guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
2722 Colby Ave
                                                                                 setting a maximum fee for services chargeable by bankruptcy
Suite 602
                                                                                 petition preparers, I have given the debtor notice of the maximum
(425) 339-8000
                                                                                 amount before preparing any document for filing for a debtor or
                                                                                 accepting any fee from the debtor, as required in that section.
November _16___, 2010
                                                                                 Official For 19B is attached.
   Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided
                                                                                 X Not Applicable                                      _
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the Debtor.
                                                                                 Signature of bankruptcy preparer or officer, principal, responsible
                                                                                 person, or partner whose Social Security number is provided above
The debtor requests relief in accordance with the chapter of
title 11, United States Code, specified in this petition.
                                                                                 Names and Social Security numbers of all other individuals who
                                                                                 prepared or assisted in preparing this document unless the
X Not Applicable                                     _
                                                                                 bankruptcy preparer is not an individual. IF more than one person
                                                                                 prepared this document, attach additional sheets conforming to the
                                                                                 appropriate official form for each person. A bankruptcy preparer
                                                                                 petition preparer’s failure to comply with the provisions of title 11
                                                                                 and the Federal Rules of Bankruptcy Procedure may result in fine or
                                                                                 imprisonment or both. 11. U.S.C. §110; 18 U.S.C. §156



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Case 10-24188-MLB   Doc 1   Filed 11/29/10   Ent. 11/29/10 10:25:20   Pg. 4 of 48
B 1D Official Form 1, Exhibit D (12/08)


                                          UNITED STATES BANKRUPTCY COURT
                                              Western District of Washington

In re Jeremey K. Brown and Lisa M. Brown,
                                                                 Case No.
                 Debtors


        EXHIBIT D – INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH CREDIT
                               COUNSELING REQUIREMENT

     Warning: You must be able to check truthfully one of the five statements regarding credit counseling
listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss
any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors will be
able to resume collection activities against you. If your case is dismissed and you file another bankruptcy
case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors’ collection activities.

     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and
file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

    ■ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

    □ 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.

    □ 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain
the services during the five days from the time I made my request, and the following exigent circumstances
merit a temporary waive of the credit counseling requirement so I can file my bankruptcy case now. [Must be
accompanied by a motion for determination by the court.][Summarize exigent circumstances here.]

_______________________________________________________________________
   If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the briefing, together
with a copy of any debt management plan developed through the agency. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension
must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of



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your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing, your case may be dismissed.

       □ 4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
               □ Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
           mental deficiency so as to be incapable of realizing and making rational decisions with respect to
           financial responsibilities.):
               □ Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
           unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone,
           or through the Internet.):
               □ Active military duty in a military combat zone.

       □ 5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

     I certify under penalty of perjury that the information provided above is true and correct.

Signed at __Gold Bar__________________, Washington, on November _16___, 2010.



                                                     /s/ Jeremey K. Brown
                                                     Jeremey K. Brown

B10-119




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B 1D Official Form 1, Exhibit D (12/08)


                                          UNITED STATES BANKRUPTCY COURT
                                              Western District of Washington

In re Jeremey K. Brown and Lisa M. Brown,
                                                                 Case No.
                 Debtors


        EXHIBIT D – INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH CREDIT
                               COUNSELING REQUIREMENT

     Warning: You must be able to check truthfully one of the five statements regarding credit counseling
listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss
any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors will be
able to resume collection activities against you. If your case is dismissed and you file another bankruptcy
case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors’ collection activities.

     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and
file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

    ■ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

    □ 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.

    □ 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain
the services during the five days from the time I made my request, and the following exigent circumstances
merit a temporary waive of the credit counseling requirement so I can file my bankruptcy case now. [Must be
accompanied by a motion for determination by the court.][Summarize exigent circumstances here.]

_______________________________________________________________________
   If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the counseling,
together with a copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline can be granted
only for cause and is limited to a maximum of 15 days. Your case may also be dismissed if the court is not



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satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.


       □ 4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
               □ Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
           mental deficiency so as to be incapable of realizing and making rational decisions with respect to
           financial responsibilities.):
               □ Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
           unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone,
           or through the Internet.):
               □ Active military duty in a military combat zone.

       □ 5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

     I certify under penalty of perjury that the information provided above is true and correct.

Signed at ___Gold Bar_________________, Washington, on November _16___, 2010.



                                                     /s/ Lisa M. Brown
                                                     Lisa M. Brown

B10-119




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B6 Summary (Official Form 6 - Statistical Summary) (12/07)

                              UNITED STATES BANKRUPTCY COURT
                                                       Western District of Washington


In re   Jeremey K. Brown and Lisa M. Brown, Debtors                                            Case No.

                                                                                                   Chapter 13



                                                   SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules
A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s
assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual
debtors must also complete the “Statistical Summary of Certain Liabilities and Related Data” if they file a case under chapter 7,11, or
13.

                                                               AMOUNTS SCHEDULED
                                             ATTACHED            NO. OF
NAME OF SCHEDULE                              (YES/NO)           SHEETS          ASSETS         LIABILITIES              OTHER

A – Real Property                                Yes                 1          $169,260.00

B – Personal Property                            Yes                 3          $41,585.50
C – Property Claimed
    as Exempt                                    Yes                 2
D – Creditors Holding
    Secured Claims                               Yes                 2                          $257,995.49
E – Creditors Holding Unsecured
    Priority Claims                              Yes                 2                             $0.00
F – Creditors Holding Unsecured
    Nonpriority Claims                           Yes                 4                          $30,600.38
G – Executory Contracts and
    Unexpired Leases                             Yes                 1

H – Codebtors                                    Yes                 1
I – Current Income of
     Individual Debtor(s)                        Yes                 1                                                 $6,920.09
J – Current Expenditures of
    Individual Debtor(s)                         Yes                 1                                                 $6,869.80
                                                                14
                                                       Total                    $210,845.50     $288,595.87




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Form 6 – Statistical Summary (12/07)


                               UNITED STATES BANKRUPTCY COURT
                                               Western District of Washington
In re   Jeremey K. Brown and Lisa M. Brown, Debtors                                           Case No.

                                                                                              Chapter 13

   STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
    If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
U.S.C. § 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    □ Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
report any information here.

The foregoing information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.


Type of Liability                                     Amount
Domestic Support Obligations (from Schedule E)        $0.00
Taxes and Certain Other Debts Owed to
                                                      $0.00
Governmental Units (from Schedule E)
Claims for Death or Personal Injury While Debtor
                                                      $0.00
Was Intoxicated (from Schedule E)
Student Loan Obligations (from Schedule F)            $0.00
Domestic Support, Separation Agreement, and
Divorce Decree Obligations Not Reported on            $0.00
Schedule E
Obligations to Pension or Profit-Sharing, and
                                                      $0.00
Other Similar Obligations (from Schedule F)
                                            Total     $0.00

State the following
Average Income (from Schedule I, Line 16)             $6,920.09
Average Expenses (from Schedule J, Line 18)           $6,869.80
Current Monthly Income (from Form 22A Line
12; OR, Form 22B Line 11; OR, Form 22C Line           $8,064.54
20)

State the following
1. Total from Schedule D, “UNSECURED
PORTION, IF ANY” column                                                     $0.00
2. Total from Schedule E, “AMOUNT
ENTITLED TO PRIORITY” column                          $0.00
3. Total from Schedule E, “AMOUNT NOT
ENTITLED TO PRIORITY, IF ANY” column                                        $0.00
4. Total from Schedule F                                                    $30,600.38
5. Total of non-priority unsecured debt (sum of
1,3, and 4)                                                                 $30,600.38




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B 201 (04/09/06)


                                     UNITED STATES BANKRUPTCY COURT

                       NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(B)
                                     OF THE BANKRUPTCY CODE
                  In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
         credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
         you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine
         all information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and
         not easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should
         you decide to file a petition. Court employees cannot give you legal advice.

1.   Services Available from Credit Counseling Agencies

          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing.
The briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

     In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.


2.   The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors.

     Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
    1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a “means test” designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
    2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
    3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you file the bankruptcy petition will be defeated.
    4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

    Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)
    1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
    2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve you plan before it can take effect.
    3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

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   Chapter 11: Reorganization ($1,000 filing fee, $39 administrative fee: Total fee $1039)
   Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

     Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
     Chapter 12 is designed to permit family farmers and fisherman to repay their debts over a period of time from future earnings and
is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3.   Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

     A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding you creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                                                      Certificate of the Debtor
     We, the debtors, affirm that we have received and read this notice.

Jeremey K. Brown and Lisa M. Brown


                      November _16___, 2010               /s/ Jeremey K. Brown
                                                          Jeremey K. Brown



                      November _16___, 2010               /s/ Lisa M. Brown
                                                          Lisa M. Brown




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                                               UNITED STATES BANKRUPTCY COURT
                                                                 Western District of Washington


In Re Jeremey K. Brown and Lisa M. Brown, Debtors                                                                              Case No.


1.         Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s)
           and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me,
           for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy
           case is as follows:

     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $3500.00
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $575.00
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $2925.00

2.         The source of the compensation paid to me was:

           ■     Debtor                          □      Other (specify)

3.         The source of compensation to be paid to me is:

           ■     Debtor                          □      Other (specify)

4          ■     I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                 associates of my law firm

           □     I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
                 my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
                 attached.

5.         In return for the above-disclosed fee, I have agreed to render legal services in all aspects of the main bankruptcy case,
           including:

           a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a petition in
              bankruptcy;
           b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           c. Providing a complete copy of the petition, schedules, statement of affairs, and any plan;
           d. Sending written notification of the date and time of the meeting of creditors;
           e. Representation of the debtor at the first scheduled meeting of creditors and confirmation hearing;
           f. Advising the debtor regarding actions and threatened actions by creditors;
           g. Advising the debtor regarding the effects or reaffirming debts;
           h. Advising and reminding the debtor regarding required post petition financial statements and certification of completion
              of debt counseling;
           i. Providing required post petition financial statements and tax returns to the trustee;
           j. Filing certification of completion of debt counseling;
           k. Preparation and filing of any amended plan;
           l. Filing motion for confirmation of any plan; and
           m. Avoiding liens disclosed pre-petition.

     6.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:

           a.    Amending schedules to add creditors or to correct information incompletely or erroneously supplied;
           b.    Avoiding liens disclosed or discovered post petition;
           c.    Representation of the debtor in adversary proceedings or other contested bankruptcy matters;
           d.    Recovering garnished funds or repossessed property;
           e.    Negotiating, drafting, or reviewing reaffirmation agreements.
           f.    Attending continued meetings of creditors;


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          g.   Attending meetings of creditors when I am unavailable.
          h.   Responding to trustee audit requests.

         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of
the debtor(s) in this bankruptcy proceeding.


          November _16___, 2010                           /s/ Tom S. Hyde
                                                          Tom S. Hyde, WSBA # 20509
                                                          Attorney for Debtors
B10-119




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B6A (Official Form B6A) (12/07)


In re   Jeremey K. Brown and Lisa M. Brown, Debtors                                                        Case No.

                                                  SCHEDULE A – REAL PROPERTY
          Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned
as a cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an “H.” “W,” “J,”
or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G – Executory
Contracts and Unexpired Leases.

           If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no
entity claims to hold a secured interest in the property, write “none” in the column labeled “Amount of Secured Claim.”

         If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
Property Claimed as exempt.


                                                                              HUSBAND, WIFE,

                                                                               COMMUNITY
                                                                                JOINT, OR         CURRENT MARKET
                                                       NATURE OF                                 VALUE OF DEBTOR’S
   DESCRIPTION AND LOCATION OF                         DEBTOR’S                                INTEREST IN PROPERTY,          AMOUNT OF
            PROPERTY                                  INTEREST IN                               WITHOUT DEDUCTING           SECURED CLAIM
                                                       PROPERTY                                 ANY SECURED CLAIM
                                                                                                   OR EXEMPTION


Real property 312 13th St, Gold Bar,             Fee Simple                   C                     169,260.00                 246,533.00
WA 98251 est value $186,000 less an est
9% cost of sale for an est value of
$169,260.00 : Owe $246,533.00. There
is no est equity in this property.




                                                                           Total ►        $169,260.00
                                                                       (Report also on Summary of Schedules)




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B6B (Official Form B6B) (12/07)

In re   Jeremey K. Brown and Lisa M. Brown, Debtors                                                                    Case No.

                                                   SCHEDULE B – PERSONAL PROPERTY
           Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place and
“x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case
name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an “H.” “W,” “J,” or “C”
in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
in Schedule C – Property Claimed as Exempt.”

         Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G – Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of PropertyIf the property is being
held for a minor child, simply state the child’s initials and the name and address of the child’s parent or guardian, such as “A.B., a minor child, by John Doe, guardian.”
Do not disclose the child’s name. See 11U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                                                                                                        CURRENT MARKET




                                                                                                                      HUSBAND, WIFE,
                                                                                                                                       VALUE OF DEBTOR’S




                                                                                                                       COMMUNITY
                                                                                                                        JOINT, OR
                                           N                                                                                               INTEREST IN
        TYPE OF PROPERTY                   O        DESCRIPTION AND LOCATION OF PROPERTY                                               PROPERTY, WITHOUT
                                           N                                                                                             DEDUCTING ANY
                                           E                                                                                            SECURED CLAIM OR
                                                                                                                                           EXEMPTION

1. Cash on hand.                                  Cash on hand                                                              C          20.00

2. Checking, savings or other finan-              Union Bank/Frontier Bank checking a/c#...3412 $150                        C          150.00
cial accounts, certificates of deposit,           First Heritage (HSA) savings a/c#...9053
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage housed, or cooperatives.

3. Security deposits with public util-     ■
ities, telephone companies, landlords,
and others.

4. Household goods and furnishings,               Household furnishings at residence                                        C          2000.00
including audio, video, and computer
equipment

5. Books; pictures and other art           ■
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                               Wearing apparel at residence                                              C          500.00

7. Furs and Jewelry.                              Jewelry at residence                                                      C          500.00

8. Firearms and sport, photographic,       ■
and other hobby equipment.

9. Interests in insurance policies.        ■
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name            ■
each issuer.

11. Interests in an education IRA as       ■
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan as
defined in 26 U.S.C. § 529(b)(1).
Give particulars. (file separately the
record(s) of any such interest(s). 11
U.S.C. § 521(c)




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B6B (Official Form B6B) (12/07) – Cont.


In Re   Jeremey K. Brown and Lisa M. Brown, Debtors                                                                  Case No.

                                                SCHEDULE B – PERSONAL PROPERTY
                                                                    (Continuation Sheet)

                                                                                                                             CURRENT MARKET




                                                                                                           HUSBAND, WIFE,
                                                                                                                            VALUE OF DEBTOR’S




                                                                                                            COMMUNITY
                                                                                                             JOINT, OR
                                            N                                                                                   INTEREST IN
        TYPE OF PROPERTY                    O    DESCRIPTION AND LOCATION OF PROPERTY                                       PROPERTY, WITHOUG
                                            N                                                                                 DEDUCTING ANY
                                            E                                                                                SECURED CLAIM OR
                                                                                                                                EXEMPTION

12. Interests in IRA, ERISA, Keogh, or          401(k) with Sno Country Value $1,498.75                          C          2,510.49
other pension or profit sharing plans.          401(k) with MFD Value $1,011.74
Give particulars.

13. Stock and interests in incorporated     ■
and unincorporated businesses.

14. Interests in partnerships or joint      ■
ventures. Itemize.

15. Government and corporate bonds          ■
and other negotiable and non-negotiable
instruments.

16. Accounts Receivable.                    ■

17. Alimony, maintenance, support, and          Back Child Support against David Motter Value $18,650.01         C          18,650.01
property settlements to which the debtor
is or may be entitled. Give Particulars.

18. Other liquidated debts owing debtor     ■
including tax refunds. Give particulars.

19. Equitable or future interests, life     ■
estates, and rights or powers exercisable
for the benefit of the debtor other than
those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            ■
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliquidated       ■
claims of every nature, including tax
refunds, counterclaims of the debtor,
and rights to setoff claims. Give
estimated value of each.




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B6B (Official Form B6B) (12/07) – Cont.


In Re   Jeremey K. Brown and Lisa M. Brown, Debtors                                                        Case No.

                                               SCHEDULE B – PERSONAL PROPERTY
                                                                  (Continuation Sheet)

                                                                                                                   CURRENT MARKET




                                                                                                 HUSBAND, WIFE,
                                                                                                                  VALUE OF DEBTOR’S




                                                                                                  COMMUNITY
                                                                                                   JOINT, OR
                                           N                                                                          INTEREST IN
        TYPE OF PROPERTY                   O    DESCRIPTION AND LOCATION OF PROPERTY                              PROPERTY, WITHOUG
                                           N                                                                        DEDUCTING ANY
                                           E                                                                       SECURED CLAIM OR
                                                                                                                      EXEMPTION

22. Patents, copyrights, and other         ■
intellectual property. Give particulars

23. Licenses, franchises, and other        ■
general intangibles. Give Particulars

24. Customer lists or other compilations   ■
containing personally identifiable
information (as defined in 11 U.S.C. §
101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal , family, or
household purposes.

25. Automobiles, trucks, trailers, and         2006 Ford Fusion Value $9,275 : Owe $8,208.16           C          16,250.00
other vehicles and accessories.                2000 Ford Explorer Value $3,125 : Owe $3,254.33
                                               1994 Ford F350 Value $3,000
                                               1991 Oldsmobile Bravada Value $250
                                               1993 Ford Escort 2-Dr Hatchback Value $250
                                               1995 Escort Wagon Value $250 (Not running)
                                               1965 Ford Pick Up Value $100 (Not Running)
26. Boats, motors, and accessories.            1973 Bayliner Mutiny w/ Trailer Value $1000             C          1000.00
                                               1979 Reinell 26ft Value $0 (Shell only)

27. Aircraft and accessories.              ■

28. Office equipment, furnishings, and
supplies.                                  ■

29. Machinery, fixtures, equipment, and    ■
supplies used in business.

30. Inventory.                             ■

31. Animals.                                   4 Dogs, 1 Cat                                           C          5.00

32. Crops – growing or harvested. Give     ■
particulars.

33. Farming equipment and                  ■
implements.

34. Farm supplies, chemicals, and feed.    ■

35. Other personal property of any kind    ■
not already listed. Itemize.




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B6C (Official Form B6C) (4/10)

In re   Jeremey K. Brown and Lisa M. Brown, Debtors                                                                Case No.

                                       SCHEDULE C –PROPERTY CLAIMED AS EXEMPT
Debtor elects the exemptions to which debtor is entitled under:           ⁭ Check if debtor claims a homestead exemption that exceeds $146,450*

■ 11 U.S.C. § 522(b)(2):

□ 11 U.S.C. § 522(b)(3):

                                                                       SPECIFY LAW                    VALUE OF                CURRENT VALUE OF
                                                                     PROVIDING EACH                   CLAIMED                 PROPERTY WITHOUT
             DESCRIPTION OF PROPERTY                                    EXEMPTION                    EXEMPTION                   DEDUCTING
                                                                                                                                 EXEMPTION
Real property 312 13th St, Gold Bar, WA 98251 est                  11 USC § 522(d)(1)                                        169,260.00
value $186,000 less an est 9% cost of sale for an est
value of $169,260.00 : Owe $246,533.00. There is
no est equity in this property.




Cash on hand                                                       11 USC § 522(d)(5)            20.00                       20.00
Union Bank/Frontier Bank checking a/c#...3412 $150                 11 USC § 522(d)(5)            150.00                      150.00
First Heritage (HSA) savings a/c#...9053

Household furnishings at residence                                 11 USC § 522(d)(3)            2000.00                     2000.00

Wearing apparel at residence                                       11 USC § 522(d)(3)            500.00                      500.00
Jewelry at residence                                               11 USC § 522(d)(3) &          500.00                      500.00
                                                                   (d)(4




401(k) with Sno Country Value $1,498.75                            11 USC § 522(d)(10) &         2,510.49                    2,510.49
401(k) with MFD Value $1,011.74                                    (d)(12)




Back Child Support against David Motter Value $18,650.01           11 USC §                      18,650.01                   18,650.01
                                                                   522(d)(10)(D)



*Amount subject to adjustment on 4/1/13, and every three years thereafter with respect to cases commenced to cases commenced on or after the date of adjustment




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B6C (Official Form B6C) (12/07) – Cont.


In Re   Jeremey K. Brown and Lisa M. Brown, Debtors                                              Case No.

                                     SCHEDULE C –PROPERTY CLAIMED AS EXEMPT
                                                               (Continuation Sheet)

                                                               SPECIFY LAW                VALUE OF          CURRENT VALUE OF
                                                             PROVIDING EACH               CLAIMED           PROPERTY WITHOUT
                DESCRIPTION OF PROPERTY                         EXEMPTION                EXEMPTION             DEDUCTING
                                                                                                               EXEMPTION




2006 Ford Fusion Value $9,275 : Owe $8,208.16               11 USC §                  4,787.51          16,250.00
2000 Ford Explorer Value $3,125 : Owe $3,254.33             522(d)(2)&(d)(5)
1994 Ford F350 Value $3,000
1991 Oldsmobile Bravada Value $250
1993 Ford Escort 2-Dr Hatchback Value $250
1995 Escort Wagon Value $250 (Not running)
1965 Ford Pick Up Value $100 (Not Running)
1973 Bayliner Mutiny w/ Trailer Value $1000                 11 USC § 522(d)(5)        1000.00           1000.00
1979 Reinell 26ft Value $0 (Shell only)




4 Dogs, 1 Cat                                               11 USC § 522(d)(3)        5.00              5.00




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B6D (Official Form B6D) (10/06)

In re   Jeremey K. Brown and Lisa M. Brown, Debtors                                                                                                         Case No.

                                  SCHEDULE D – CREDITORS HOLDING SECURED CLAIMS
            State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the
debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and
may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages,
deeds of trust, and other security interests.
List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m). If all secured
creditors will not fit on this page, use the continuation sheet provided.
            If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, or both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
            If the claim is contingent, place and “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled
“Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
            Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on
the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical
Summary of Certain Liabilities and Related Data.

           □ Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                     HUSBAND, WIFE, JOINT,




                                                                                                                       UNLIQUIDATED
                                                       OR COMMUNITY




                                                                                DATE CLAIM WAS            CONTINGENT                               AMOUNT OF
                                          CODEBTOR




                                                                                                                                      DISPUTED
  CREDITOR’S NAME AND                                                         INCURRED, NATURE OF                                                CLAIM WITHOUT            UNSECURED
    MAILING ADDRESS                                                          LIEN, AND DESCRIPITION                                                DEDUCTING              PORTION, IF
 INCLUDING ZIP CODE AND                                                      AND VALUE OF PROPERTY                                                  VALUE OF                 ANY
    ACCOUNT NUMBER                                                               SUBJECT TO LIEN                                                  COLLATERAL



Account No. 0259
                                                                             2007
B of A                                                                       Mortgage
450 American St                                                                                                                                     $182,435.00
Simi Valley, CA 93065                                                        Value $169,260.00

Account No. 0992
                                                                             2007
B of A                                                                       Mortgage
450 American St                                                                                                                                      $64,098.00
SimiValley, CA 93056                                                         Value $169,260.00

Account No. 3627
                                                                             2006
FMC                                                                          Car Loan
POB 7172                                                                                                                                              $8,208.16
Pasadena, CA 91109                                                           Value $8,208.16



1 Continuations sheets Attached                                                                          Subtotal ►                                 $254,741.16                $0.00
                                                                                                           Total ►
                                                                                                 (Use only on last page)
                                                                                                                                                 (Report Also on        (If applicable, report
                                                                                                                                                 Summary of             also on Statistical
                                                                                                                                                 Schedules)             Summary of Certain
                                                                                                                                                                        Liabilities and
                                                                                                                                                                        Related Data)




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Official Form 6D (10/06) – Cont.


In re   Jeremey K. Brown and Lisa M. Brown, Debtors                                                                                                  Case No.

                               SCHEDULE D – CREDITORS HOLDING SECURED CLAIMS
                                                                                     (Continuation Sheet)




                                                 HUSBAND, WIFE, JOINT,




                                                                                                                     UNLIQUIDATED
                                                   OR COMMUNITY
                                                                            DATE CLAIM WAS                                                       AMOUNT OF




                                                                                                        CONTINGENT
                                      CODEBTOR




                                                                                                                                    DISPUTED
  CREDITOR’S NAME AND                                                     INCURRED, NATURE OF                                                  CLAIM WITHOUT        UNSECURED
    MAILING ADDRESS                                                      LIEN, AND DESCRIPITION                                                  DEDUCTING          PORTION, IF
 INCLUDING ZIP CODE AND                                                  AND VALUE OF PROPERTY                                                    VALUE OF             ANY
    ACCOUNT NUMBER                                                           SUBJECT TO LIEN                                                    COLLATERAL



Account No. 6473
                                                                         2009
Wells Fargo                                                              Car Loan
POB 25341                                                                                                                                           $3,254.33
Santa Ana, CA 92799                                                      Value $3,125.00

Account No. 6473



                                                                         Value


Account No. 6473




                                                                         Value

Account No. 6473




                                                                         Value

Account No. 6473



                                                                         Value


Sheet 1 of 1 continuation sheets attached to
Schedule C of Creditors Holding Secured Claims                                                         Subtotal ►                                   $3,254.33            $0.00
                                                                                                                 Total ►                          $257,995.49            $0.00
                                                                                               (Use only on last page)
                                                                                                                                               (Report Also on    (If applicable, report
                                                                                                                                               Summary of         also on Statistical
                                                                                                                                               Schedules)         Summary of Certain
                                                                                                                                                                  Liabilities and
                                                                                                                                                                  Related Data)




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B6E (Official Form 6E) (4/10)


In re   Jeremey K. Brown and Lisa M. Brown, Debtors                                                                        Case No.


                     SCHEDULE E – CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
      A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims
entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four
digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use
a separate continuation sheet for each type of priority and label each with the type of priority.

     The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to
do so If a minor child is a creditor, state the child’s initials and the name and address of the child’s parent or guardian, such as “A.B., a minor child, by John Doe,
guardian.” Do not disclose the child’s name. See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m).

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, or both of them or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”            If the claim is
contingent, place and “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim is disputed,
place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

      Report the total of claims listed on each sheet in the box labeled “Subtotal” on each sheet. Report the total of all claims listed on this Schedule E in the box
labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

      Report the total of amounts entitled to priority listed on each sheet in the box labeled “Subtotal” on each sheet. Report the total of all amounts entitled to priority
listed on this Schedule E in the box labeled “Total” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under
chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the
total of all amounts entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed
schedule. Individual debtors with primarily consumer debts who file a case under chapter 7 report this total also on the Statistical
Summary of Certain Liabilities and Related Data.

■ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

□       Domestic Support Obligations
      Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
of such a child, or a governmental unit to whom such a domestic support obligation has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

□       Extensions of credit in an involuntary case
      Claims arising in the ordinary course of the debtor’s business or financial affairs after he commencement of the case but before the earlier of the appointment of a
trustee or the order for relief. 11 U.S.C. § 507(a)(3).

□       Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

□       Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of
business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).




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B6E (Official Form 6E) (4/10) – Cont.


In Re       Jeremey K. Brown and Lisa M. Brown, Debtors                                                                   Case No.

□       Certain farmers and fishermen
        Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

□       Deposits by individuals
      Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
delivered or provided. 11 U.S.C. § 507(a)(7).

□       Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

□       Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution.. 11 U.S.C. § 507(a)(9).

□       Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).



        •     Amounts are subject to adjustment on April 1, 2013, and every three years thereafter with respect to cases commenced on or
              after the date of adjustment.




                                                                     0 continuation sheets attached




               Case 10-24188-MLB                      Doc 1          Filed 11/29/10              Ent. 11/29/10 10:25:20                     Pg. 24 of 48
B6F (Official Form 6F) (12/07) – Cont.

In Re   Jeremey K. Brown and Lisa M. Brown, Debtors                                                                                                   Case No.

                 SCHEDULE F – CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
            State the name, mailing address, including zip code, and last four digits of any account number of all entities holding unsecured claims without priority
against the debtor or the property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m).
Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, or both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
      If the claim is contingent, place and “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If
the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
      Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary
of Schedules and, if the debtor is an individual with primarily consumer debts filing a chapter 7, report the total also on the Statistical Summary of Certain Liabilities
and Related Data.

□ Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                HUSBAND, WIFE, JOINT,




                                                                                                                                       UNLIQUIDATED
                                                                  OR COMMUNITY




                                                                                                                          CONTINGENT
                                                   CODEBTOR




                                                                                                                                                       DISPUTED
CREDITOR’S NAME AND MAILING                                                               DATE CLAIM WAS INCURRED                                                 AMOUNT OF CLAIM
 ADDRESS INCLUDING ZIP CODE                                                                AND CONSIDERATION FOR
   AND ACCOUNT NUMBER                                                                    CLAIM. IF CLAIM IS SUBJECT TO
           (See instructions above.)                                                          SETOFF, SO STATE.



Account No. 1351

HBSC
                                                                                        2008                                                                          $1077.54
POB 17332
                                                                                        Credit Card
Baltimore, MD 21297

Account No. 9577

GE Money Bank
                                                                                        2006                                                                          $1910.47
POB 960061
                                                                                        Credit Card
Orlando, FL 32986

Account No. 1595

Capital One
                                                                                        2008                                                                          $1826.96
POB 60599
                                                                                        Credit Card
City of Industry, CA 91716

Account No. 1003

American Express                                                                        2007
                                                                                                                                                                      $2408.89
POB 650448                                                                              Credit Card
Dallas, TX 75265

3 Continuation sheets attached                                                                                             Subtotal ►                                $7,223.86
                                                                                                                              Total ►
                                                                                  (Use only on last page of the completed Schedule F)
                                                              (Report also on Summary of Schedules and if applicable, on the Statistical
                                                                                     Summary of certain Liabilities and Related Data)




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B6F (Official Form 6F) (12/07) – Cont.


In Re   Jeremey K. Brown and Lisa M. Brown, Debtors                                                                                                     Case No.

                SCHEDULE F – CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                              (Continuation Sheet)




                                                              HUSBAND, WIFE, JOINT,




                                                                                                                                         UNLIQUIDATED
                                                                OR COMMUNITY




                                                                                                                            CONTINGENT
                                                 CODEBTOR




                                                                                                                                                         DISPUTED
CREDITOR’S NAME AND MAILING                                                           DATE CLAIM WAS INCURRED                                                       AMOUNT OF CLAIM
 ADDRESS INCLUDING ZIP CODE                                                            AND CONSIDERATION FOR
   AND ACCOUNT NUMBER                                                                 CLAIM. IF CLAIM IS SUBJECT
          (See instructions above.)                                                      TO SETOFF, SO STATE.



Account No. 8608

HSBC Retail
                                                                                      2008                                                                              $3365.17
POB 60148
                                                                                      Credit Card
City of Industry, CA 91716

Account No. 4760

Juniper
POB 13337                                                                             2008                                                                              $4558.77
Philadelphia, PA 19101                                                                Credit Card

Account No. 8184

Beneficial
POB 60101                                                                             2008                                                                               $1.00
City of Industry, CA 91716                                                            Line of Credit

Account No. 7723

Discover
POB 29033                                                                             2005                                                                              $5229.83
Pheonix, AZ 85038                                                                     Misc. Purchases

Account No. 8588

CitiBank
                                                                                      2007                                                                              $612.46
POB 6000
                                                                                      Credit Card
The Lakes, NV 89163

Sheet 1 of 3 sheets attached to Schedule of Creditors
Holding Unsecured Nonriority Claims
                                                                                                                                  Subtotal ►                           $13,767.23
                                                                                                                            Total ►
                                                                                (Use only on last page of the completed Schedule F)
                                                            (Report also on Summary of Schedules and if applicable, on the Statistical
                                                                                   Summary of certain Liabilities and Related Data)




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B6F (Official Form 6F) (12/07) – Cont.


In Re   Jeremey K. Brown and Lisa M. Brown, Debtors                                                                                                       Case No.

                SCHEDULE F – CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                (Continuation Sheet)




                                                              HUSBAND, WIFE, JOINT,




                                                                                                                                           UNLIQUIDATED
                                                                OR COMMUNITY




                                                                                                                              CONTINGENT
                                                 CODEBTOR




                                                                                                                                                           DISPUTED
CREDITOR’S NAME AND MAILING                                                           DATE CLAIM WAS INCURRED                                                         AMOUNT OF CLAIM
 ADDRESS INCLUDING ZIP CODE                                                            AND CONSIDERATION FOR
   AND ACCOUNT NUMBER                                                                 CLAIM. IF CLAIM IS SUBJECT
          (See instructions above.)                                                      TO SETOFF, SO STATE.



Account No. 4561

Lowes/GE MB
                                                                                      2000                                                                                $288.27
POB 530914
                                                                                      Credit Card
Atlanta, GA 30353

Account No. 10-01

Sun West Bank
POB 927830                                                                            2009                                                                                $2165.33
San Diego, CA 92192                                                                   Medical

Account No.

Del Nestegard
415 S Blakely                                                                         2009                                                                                $2300.00
Monroe, WA 98272                                                                      Loan

Account No.

Judy Ward
9215 Mero Rd                                                                          2009                                                                                $4000.00
Snohomish, WA 98290                                                                   Loan

Account No. 0417

Planned Parenthood
                                                                                      2010                                                                                $547.72
2001 E Madison St
                                                                                      Medical
Seattle, WA 98124

Sheet 2 of 3 sheets attached to Schedule of Creditors
Holding Unsecured Nonriority Claims
                                                                                                                                    Subtotal ►                           $9,301.32
                                                                                                                            Total ►
                                                                                (Use only on last page of the completed Schedule F)
                                                            (Report also on Summary of Schedules and if applicable, on the Statistical
                                                                                   Summary of certain Liabilities and Related Data)




             Case 10-24188-MLB                        Doc 1                            Filed 11/29/10             Ent. 11/29/10 10:25:20                                Pg. 27 of 48
B6F (Official Form 6F) (12/07) – Cont.


In Re   Jeremey K. Brown and Lisa M. Brown, Debtors                                                                                                       Case No.

                SCHEDULE F – CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                (Continuation Sheet)




                                                              HUSBAND, WIFE, JOINT,




                                                                                                                                           UNLIQUIDATED
                                                                OR COMMUNITY




                                                                                                                              CONTINGENT
                                                 CODEBTOR




                                                                                                                                                           DISPUTED
CREDITOR’S NAME AND MAILING                                                           DATE CLAIM WAS INCURRED                                                         AMOUNT OF CLAIM
 ADDRESS INCLUDING ZIP CODE                                                            AND CONSIDERATION FOR
   AND ACCOUNT NUMBER                                                                 CLAIM. IF CLAIM IS SUBJECT
          (See instructions above.)                                                      TO SETOFF, SO STATE.



Account No. 0153

Providence Everett Medical Clinic
                                                                                      2010                                                                                $153.97
POB 34995
                                                                                      Medical
Seattle, WA 98124

Account No. 6810

Richard Sandler MD
21200 72nd Ave W                                                                      2010                                                                                $153.00
Edmonds, WA 98026                                                                     Medical

Account No. 4657

Empi Inc
POB 71519                                                                             2010                                                                                 $1.00
Chicago, IL 60694                                                                     Medical

Account No.




Account No.




Sheet 3 of 3 sheets attached to Schedule of Creditors
Holding Unsecured Nonriority Claims
                                                                                                                                    Subtotal ►                            $307.97
                                                                                                                            Total ►
                                                                                (Use only on last page of the completed Schedule F)
                                                            (Report also on Summary of Schedules and if applicable, on the Statistical                                   $30,600.38
                                                                                   Summary of certain Liabilities and Related Data)




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B6G (Official Form B6G) (12/07)


In re   Jeremey K. Brown and Lisa M. Brown, debtors                                                  Case No.

                      SCHEDULE G – EXECUTORY CONTRACTS AND UNEXPIRED LEASES
        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
        interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee
        of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor
        child is a party to one of the leases or contracts, state the child’s initials and the name and address of the child’s parent or
        guardian, such as “A.B., a minor child, by John Doe, guardian.” Do not disclose the child’s name. See U.S.C. § 112; Fed. R.
        Bankr. P. 1007(m).

    ■ Check this box if debtor has no executory contracts or unexpired leases.

                                                                 DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
NAME AND MAILING ADDRESS, INCLUDING ZIP                           DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
  CODE, OF OTHER PARTIES TO LEASE OR                             NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
              CONTRACT.                                              NUMBER OF ANY GOVERNMENT CONTRACT.




              Case 10-24188-MLB               Doc 1      Filed 11/29/10         Ent. 11/29/10 10:25:20             Pg. 29 of 48
Official Form B6H
(10/05)


In re   Jeremey K. Brown and Lisa M. Brown, debtors                                           Case No.


                                               SCHEDULE H – CODEBTORS
     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a
community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New
Mexico, Puerto Rico, Texas, Washington or Wisconsin) within the eight year period preceding the commencement of the case,
identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property
state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
commencement of this case. If a minor child is a codebtor or a creditor, indicate that by stating “a minor child” and do not disclose
the child’s name. See U.S.C. § 112; Fed. R. Bankr. P. 1007(m).


    ■ Check this box if debtor has no codebtors.

            NAME ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




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B6I (Official Form 6I) (12/07)

In Re Jeremey K. Brown and Lisa M. Brown, debtors                                                                       Case No.

                             SCHEDULE I – CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cased filed by joint debtors and by a married debtor in a chapter 7, 11, 12 or 13 case whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

Debtor’s Marital                                                     DEPENDENTS OF DEBTOR AND SPOUSE
Status:                          RELATIONSHIP                                                       AGE

Married                          Daughter                                                                                   17
                                 Friend                                                                                     17
                                 Daughter                                                                                   20
Employment:                                                                     DEBTOR                                          SPOUSE
Occupation                                                         Auto Body Tech                                   Dental Front Office
Name of Employer                                                   Sno Country Ford                                 Monroe Family Dentistry
How long employed                                                  20 yrs                                           4.5 yrs
Address of Employer                                                1175 Village Way, Monroe, WA                     19071 SR 2, Monroe, WA 98272
                                                                   98272

INCOME: (Estimate of monthly income at time case filed)                                                             DEBTOR                   SPOUSE

1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly) …                             $4691.96                 $3010.50
2. Estimate monthly overtime …………………….………………………………………..                                                             $26.57                   $25

3. SUBTOTAL ……………………………………………………………………………..                                                                         $4,718.53                $3,035.50

4. LESS PAYROLL DEDUCTIONS
    a. Payroll taxes and social security …………………………………………………..                                                      $541.26                  $567.63
    b. Insurance …………………………………………………………………………..                                                                     $102.36                  $88.84
    c. Union Dues ………………………………………………………………………..                                                                     $                        $
    d. Other: ………... Voluntary retirement/401(k) contributions …………………..                                            $                        $
    d. Other: ………… Mandatory retirement/401(k) contributions ………………….                                               $                        $
    d. Other: ………… Retirement loan payments ……………………………………                                                          $                        $37.84
    d. Other: ………… HSA                                                                                              $200                     $

5. SUBTOTAL OF PAYROLLDEDUCTIONS …………………………………………                                                                   $843.62                  $694.31
6. TOTAL NET MONTHLY TAKE HOME PAY ………………………………………                                                                  $3,874.91                $2,341.19

7. Regular income from operation of business or profession or farm …………………...                                       $                        $
   (Attach detailed statement.)
8. Income from real property …………………………………………………………….                                                               $                        $
9. Interest and dividends …………………………………………………………………                                                                 $                        $
10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use
    or that of dependents listed above …………………………………….……………..                                                       $                        $703.99
11. Social security or other government assistance:                                                                 $                        $
                                                                                                                    $                        $
12. Pension or retirement income …………………………………………………………                                                             $                        $
13. Other monthly income                                                                                            $                        $

14. SUBTOTAL OF LINES 7 THROUGH 13 …………………………………………                                                                 $0.00                    $703.99
15. AVERAGE MONTHLY INCOME (Add amounts shown on line 6 and 14) ………                                                 $3,874.91                $3,045.18
16. COMBINED AVERAGE MONTHLY INCOME (Combine                                                                        (Report also on Summary of Schedules
column totals from line 15; if there is only one debtor, repeat total reported on line                              and, if applicable, on Statistical Summary
                                                                                                                    of Certain Liabilities and Related Data)
15)…………………………………………………………………                                                                  $6,920.09



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17. Describe any increase or decrease in income anticipated to occur within the year following the filing of this document: None




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B6J (Official Form 6J) (12/07)

In Re Jeremey K. Brown and Lisa M. Brown, Debtors                                                                      Case No.

                     SCHEDULE J – CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
  Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made bi-weekly,
quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions
from income allowed on Form 22A or 22C.

   □ Check this box if a joint petition is filed and debtor’s spouse maintains a separate household

                                                                                                                  Debtor             Spouse
1. Rent or home mortgage payment (include lot rented for mobile home) ……….……………..………                              $1466.69           $
     a. Are real estate taxes included? Yes
     b. Is property insurance included? Yes
2. Utilities a. Electricity and heating fuel …………………………………………………………………                                            $312               $
              b. Water and sewer ……………………………………………………………………...……….                                                $49.11             $
              c. Telephone ……………………………………………………………..………………………                                                     $10                $
              d. Cable ………………………………………………………………………………………….                                                        $130               $
              d. Other: Cell Phones ($250)/Garbage($40)                                                           $290               $
3. Home maintenance (Repairs and upkeep) ………………………………………..…………………………                                              $100               $
4. Food …………………………………………………………………………………………………………                                                                  $1500              $
5. Clothing ………………. ………………………………………………………..……………………………                                                            $150               $
6. Laundry and dry cleaning ……………………………………………………………….………………….                                                     $100               $
7. Medical and dental expenses ………………………………………………………………..………………                                                   $400               $
8. Transportation (not including car payments) ……………………………………………….………….                                           $500               $
9. Recreation, clubs and entertainment, newspapers, magazines, etc. …………………….……………                                $350               $
10. Charitable contributions ………………………………………………………………………….……….                                                    $10                $
11. Insurance (not deducted from wages or included in home mortgage payments)
       a. Homeowner’s or renters ………………………………………………………..…………………..                                                 $                  $
       b. Life ……………………………………………………………………………………..………………                                                           $10                $
       c. Health ………………………………………………………………………………………………….                                                           $                  $
       d. Auto …………………………………………………………………………………..……………….                                                           $232               $
       e. Other:                                                                                                  $                  $
12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                                                                  $                  $
13. Installment payments:
      Bank of America Second Mortgage                                                                             $510               $
                                                                                                                  $                  $
                                                                                                                  $                  $
14. Alimony, maintenance, and support paid to others ……………………………..……………………..                                      $                  $
15. Payments for support of additional dependents not living at your home ………………….……….                            $                  $
16. Regular expenses from operation of business, profession, or farm:
                                                                                                                  $                  $
17. Other: Housekeeping supplies ………………………………………………………………………………                                                   $125               $
    Other: Personal care expenses ………………………………………………………….………………….                                                 $125               $
    Other: Pet Care($250), Cigarettes($250)                                                                       $500.00            $
18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if                       $6,869.80          $0.00
    applicable, on the Statistical Summary of Certain Liabilities and Related Data.)

19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
   None

20. STATEMENT OF MONTHLY NET INCOME
    a. Total projected monthly income …………………………………………………….………………..…                                              $6,920.09
    b. Total projected monthly expenses …………………………………………………………….………….                                             $6,869.80
    c. Monthly net income (a. minus b.) ………………………………………………………………………                                               $50.29
[Chapter 12 and 13 Debtors Only: State amount whether plan payments are to be made bi-weekly, monthly, annually, or at some other regular interval.]
21. Total amount to be paid into plan 50.2901             monthly




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Official Form 6 - Declaration (12/07)


In Re Jeremey K. Brown and Lisa M. Brown, Debtors                              Case No.

                          DECLARATION CONCERNING DEBTOR’S SCHEDULES
                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

We declare under penalty of perjury that we have read the foregoing summary and schedules, consisting of 19
sheets, and that they are true and correct to the best of our knowledge, information, and belief.

           November _16___, 2010                        /s/ Jeremey K. Brown
                                                        Jeremey K. Brown


           November _16___, 2010                        /s/ Lisa M. Brown
                                                        Lisa M. Brown
B10-119




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Official Form 7
(4/10)
                                           UNITED STATES BANKRUPTCY COURT
                                                              Western District of Washington

In Re Jeremey K. Brown and Lisa M. Brown, Debtors                                                                        Case No.

                                                         STATEMENT OF FINANCIAL AFFAIRS

            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses is
combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer or self-employed
professional, should provide the information requested on this statement concerning all such activities as well as the individual’s personal affairs. To indicate payments,
transfers and the like to minor children, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

           Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19-25. If the
answer to an applicable question is “None,” mark the box labeled “None” If additional space is needed for the answer to any question, use and attach a separate
sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                            DEFINITIONS

            “In business.” A debtor is “in business” for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is “in business” for
the purpose of this form if the debtor is or has been within the six years immediately preceding the filing of this bankruptcy case, any of the following: an officer,
director, managing executive, or owner of 5percent or more of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a
sole proprietor or self-employed [full-time or part-time]. An individual debtor also is [may be] “in business” for the purpose of this form if the debtor engages in a
trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

             “Insider.” The term “insider” includes but is not limited to: relatives of the debtor, general partners of the debtor and their relatives; corporations of which
the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                  1.   Income from employment or operation of business

None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
          the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
          beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
          two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
          the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
          of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
          under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
          spouses are separated and a joint petition is not filed.)

                         AMOUNT           SOURCE

          2010         $46,835.63         Sno Country Ford/Monroe Auto Body                    $38,390.51               Monroe Family Dentistry

          2009         $57,734.54         Sno Country Ford/Monroe Auto Body                    $32,716.69               Monroe Family Dentistry

          2008         $67,099.81         Sno Country Ford/Monroe Auto Body                    $38,744.34               Monroe Family Dentistry




                  2.   Income other than from employment or operation of business

None      State the amount of income received by the debtor other than from employment, trade, profession, or operation of the
■         debtor’s business during the two years immediately preceding the commencement of this case. Give particulars. If a
          joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
          must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
          petition is not filed.)


                         AMOUNT           SOURCE



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       2010                                                                 $11,411.24          401(k) Dist./Child Support

       2009                                                                 $8,487.27           Child Support

       2008                                                                 $2,027.08           Child Support



              3.   Payments to creditors

              Complete a. or b., as appropriate, and c.

None   a.     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
 ■            goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement
              of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
              $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
              obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
              credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either
              or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)
                                                                                DATES                                AMOUNT
              NAME AND ADDRESS OF CREDITOR                                 OF PAYMENTS        AMOUNT PAID STILL OWING



              b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
None   b.     within 90 days immediately preceding the commencement of the case unless the aggregate value of all property
 ■            that constitutes or is affected by such transfer is less than $5,850. If the debtor is an individual, indicate with an
              asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an
              alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
              (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
              NAME AND ADDRESS OF CREDITOR                                       DATES                                   AMOUNT
              AND RELATIONSHIP TO DEBTOR                                     OF PAYMENTS        AMOUNT PAID STILL OWING




None   c.     All Debtors: List all payments made within one year immediately preceding the commencement of this case to or
 ■            for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
              include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
              and a joint petition is not filed.)

              NAME AND ADDRESS OF CREDITOR                                    DATES                                    AMOUNT
              AND RELATIONSHIP TO DEBTOR                                  OF PAYMENTS         AMOUNT PAID            STILL OWING




              4.   Suits and administrative proceedings, executions, garnishments and attachments

None   a.     List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
 ■            preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
              information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
              separated and a joint petition is not filed.)

              CAPTION OF SUIT                                                      COURT OR AGENCY                   STATUS OR
              AND CASE NUMBER                     NATURE OF PROCEEDING             AND LOCATION                      DISPOSITION




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None   b.    Describe all property that has been attached, garnished or seized under any legal or equitable process within one
 ■           year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
             13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

             NAME AND ADDRESS OF PERSON FOR WHOSE                               DATE            DESCRIPTION AND VALUE
             BENEFIT PROPERTY WAS SEIZED                                     OF SEIZURE              OF PROPERTY




             5.   Repossessions, foreclosures and returns

None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
 ■     foreclosure or returned to the seller, within one year immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF REPOSSESSION,
                                                                     FORECLOSSURE SALE,                 DESCRIPTIOIN AND
       NAME AND ADDRESS OF CREDITOR OR SELLER                        TRANSFER OR RETURN                 VALUE OF PROPERTY




             6.   Assignments and receiverships

None   a.    Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
 ■           commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment
             by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
             petition is not filed.)

                                                                               DATE OF           TERMS OF ASIGNMENT OR
             NAME AND ADDRESS OF ASSIGNEE                                      ASSIGNMENT        SETTLEMENT




None   b.    List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
 ■           immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
             must include information concerning property of either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                     NAME AND LOCATION                         DESCRIPTION
                                                                     OF COURT CASE TITLE         DATE OF       AND VALUE OF
             NAME AND ADDRESS OF CUSTODIAN                           & NUMBER                    ORDER         PROPERTY




       7. Gifts

None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
 ■     except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
       and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
       chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless


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       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS OF PERSON                             RELATIONSHIP TO           DATE OF GIFT         DESCRIPTION AND
       OR ORGANIZATION                                        DEBTOR, IF ANY                                 VALUE OF GIFT




       8. Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
 ■     of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

                                                              DESCRIPTION OF CIRCUMSTANCES AND, IF
                                                              LOSS WAS COVERED IN WHOLE OR IN PART
       DESCRIPTION AND VALUE OF PROPERTY                      BY INSURANCE, GIVE PARTICULARS                        DATE OF LOSS




       9.    Payments related to debt counseling or bankruptcy

None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
       consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
       within one year immediately preceding the commencement of this case.

                                                                       DATE OF PAYMENT, NAME OF            AMOUNT OF MONEY
                                                                       PAYOR IF OTHER THAN                 OR DESCRIPTION AND
       NAME AND ADDRESS OF PAYEE                                       DEBTOR                              VALUE OF PROPERTY

       Tom S. Hyde                                                     2010                                $575
       2722 Colby Ave
       Suite 602                                                       2009                                $600
       Everett, WA 98201
                                                                       2009                                $860 for 15 months
       Andrew Gebelt
       12104 57th Pl SE
       Snohomish, WA 98290

       CCCS
       4500 East Broad St
       Columbus, OH 43213


       10. Other transfers

None   a.    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
 ■           of the debtor, transferred either absolutely or as security within two years immediately preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
             not filed.)
             NAME AND ADDRESS OF TRANSFEREE,                            DATE               DESCRIBE PROPERTY TRANSFERRED
             RELATIONSHIP TO DEBTOR                                                        AND VALUE RECEIVED




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None   b.    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
 ■           case to a self-settled trust or similar device of which the debtor is a beneficiary.

                                                      DATE(S) OF        AMOUNT OF MONEY OR DESCRIPTION AND
             NAME TRUST OR OTHER DEVICE               TRANSFER(S)       VALUE OF PROPERTY OR DEBTOR’S INTEREST IN
                                                                        PROPERTY




       11. Closed financial accounts

None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
 ■     closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
       checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
       held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
       instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)

                                                             TYPE OF ACCOUNT, LAST FOUR
                                                             DIGITS OF ACCOUNT NUMBER,                AMOUNT AND DATE
       NAME AND ADDRESS OF INSTITUTION                       AND AMOUNT OF FINAL BALANCE              OF SALE OR CLOSING




       12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
 ■     within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

                                                    NAMES AND                                                DATE OF
                                                    ADDRESSES OF THOSE                                       TRANSFER OR
       NAME AND ADDRESS OF BANK OR                  WITH ACCESS TO BOX               DESCRIPTION OF          SURRENDER, IF
       OTHER DEPOSITORY                             OR DEPOSITORY                    CONTENTS                ANY




       13. Setoffs

None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
 ■     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

       NAME AND ADDRESS OF CREDITOR                                        DATE OF SETOFF             AMOUNT OF SETOFF




       14. Property held for another person

None   List all property owned by another person that the debtor holds or controls
 ■


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                                                                      DESCRIPTION AND VALUE OF
       NAME AND ADDRESS OF OWNER                                      PROPERTY                                 LOCATION OF PROPERTY




       15. Prior address of debtor

None   a.    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the
 ■           businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner,
             or managing executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade,
             profession, or other activity either full- or part-time within six years immediately preceding the commencement of
             this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years
             immediately preceding the commencement of this case.

                      If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and
                      beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                      voting or equity securities, within six years immediately preceding the commencement of this case.

                  If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                  and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                  the voting or equity securities within six years immediately preceding the commencement of this case.
             ADDRESS                                                     NAME USED                     DATES OF OCCUPANCY




None   b.    All other debtor(s): If the debtor has moved within the three years immediately preceding the commencement of
 ■           this case, list all premises which the debtor occupied during that period and vacated prior to the commencement of
             this case. If a joint petition is filed, report also any separate address of either spouse.

             ADDRESS                                                       NAME USED                      DATES OF OCCUPANCY




       16. Spouses and former spouses

None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
 ■     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington or Wisconsin) within the eight-
       year period immediately preceding the commencement of this case, identify the name of the debtor’s spouse and of
       any former spouse who resides or resided with the debtor in the community property state.

       NAME




       17. Environmental Information

       For the purpose of this question, the following definitions apply:

       “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination,
       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
       or material.

       “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.



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       “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
       material, pollutant, or contaminant or similar term under an Environmental Law.

None   a.    List the name and address of every site for which the debtor has received notice in writing by a governmental unit
 ■           that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
             governmental unit, the date of the notice, and, if known, the Environmental Law.

                                                    NAME AND ADDRESS OF                  DATE OF           ENVIRONMENTAL
             SITE NAME AND ADDRESS                  GOVERNMENTAL UNIT                    NOTICE            LAW




None   b.    List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
 ■           Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                    NAME AND ADDRESS OF                  DATE OF           ENVIRONMENTAL
             SITE NAME AND ADDRESS                  GOVERNMENTAL UNIT                    NOTICE            LAW




None   c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
 ■           respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
             was a party to the proceeding, and the docket number.

             NAME AND ADDRESS OF GOVERNMENTAL UNIT                    DOCKET NUMBER               STATUS OR DISPOSITION




       18. Nature, location and name of business

None   a.    If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
 ■           and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
             executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
             other activity either full- or part-time within the six years immediately preceding the commencement of this case,
             or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
             preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities, within he six years immediately preceding the commencement of this case

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities within six years immediately preceding the commencement of this case.

                                  LAST FOUR DIGITS OF SOC. SEC.                                   NATURE          BEGINNING
                                   NO/COMPLESTE EIN OR OTHER
                                 TAXPAYER I.D. NO.
                                                                                                  OF              AND ENDING
             NAME                                                     ADDRESS                     BUSINESS        DATES




None   b.    Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11
 ■           U.S.C. § 101.

             NAME                                   ADDRESS

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          The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor
who is or has been, within the six years immediately preceding the commencement of this case, any of the following: an officer,
director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than
a limited partner, of a partnership; a sole proprietor or self-employed in a trade, profession or other activity, either full- or part-time.

         (an individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as
defined above, within the six years immediately preceding the commencement of this case. A debtor who has not been in business
within those six years should go directly to the signature page.)

         19. Books, records and financial statements

None    a.    List all bookkeepers and accountants who within the two years immediately preceding the filing of this
 ■            bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

              NAME AND ADDRESS                                                                     DATES SERVICES RENDERED




None    b.    List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case
 ■            have audited the books of account and records, or prepared a financial statement of the debtor.

              NAME                           ADDRESS                                          DATES SERVICES RENDERED




None    c.    List all firms or individuals who at the time of the commencement of this case were in possession of the books of
 ■            account and records of the debtor. If any of the books of account and records are not available, explain.

              NAME                              ADDRESS




None    d.    List all financial institutions, creditors and other parties, including mercantile and trade agencies, to which a
 ■            financial statement was issued within the two years immediately preceding the commencement of this case by the
              debtor.

              NAME AND ADDRESS                                                                DATE ISSUED




         20. Inventories

None    a.    List the dates of the last two inventories taken of your property, the name of the person who supervised the taking
 ■            of each inventory, and the dollar amount and basis of the inventory.
                                                                                       DOLLAR AMOUNT OF INVENTORY
              DATE OF INVENTORY            INVENTORY SUPERVISOR                        (specify cost, market or other basis)




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None   b.    List the name and address of the person having possession of the records of each of the two inventories reported in
 ■           a., above.

             DATE OF INVENTORY           NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY RECORDS




       21. Current Partners, Officers, Directors and Shareholders

None   a.    If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
 ■           partnership.

             NAME AND ADDRESS                                        NATURE OF INTEREST          PERCENTAGE OF INTEREST




None   b.    If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or
 ■           indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                 NATURE AND PERCENTAGE
             NAME AND ADDRESS                                               TITLE                OF STOCK OWNERSHIP




       22. Former partners, officers, directors and shareholders

None   a.    If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
 ■           preceding the commencement of this case.

             NAME                     ADDRESS                                                         DATE OF WITHDRAWAL




None   b.    If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated
 ■           within one year immediately preceding the commencement of this case.

             NAME AND ADDRESS                                                 TITLE                   DATE OF TERMINATION




       23. Withdrawals from a partnership or distributions by a corporation

None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
 ■     including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
       during one year immediately preceding the commencement of this case.

                                                                                                      AMOUNT OF MONEY OR
       NAME & ADDRESS OF RECIPIENT, RELATIONSHIP                         DATE AND PURPOSE             DESCRIPTION AND VALUE
       TO DEBTOR                                                         OF WITHDRAWAL                OF PROPERTY




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          24. Tax Consolidation Group.

None    If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
 ■      consolidated group for tax purposes of which the debtor has been a member at any time within the six-year period
        immediately preceding the commencement of the case.

        NAME OF PARENT CORPORATION                                              TAXPAYER IDENTIFICATION NUMBER (EIN)




          25. Pension Funds.

None    If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which
 ■      the debtor, as an employer, has been responsible for contributing at any time within the six-year period immediately
        preceding the commencement of the case.

        NAME OF PENSION FUND                                           TAXPAYER IDENTIFICATION NUMBER (EIN)




I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.


November _16___, 2010                                      /s/ Jeremey K. Brown
                                                           Jeremey K. Brown


November _16___, 2010                                      /s/ Lisa M. Brown
                                                           Lisa M. Brown
B10-119
--------------------------------------------------------------------------------------------------------------------


[If completed on behalf of a partnership or corporation]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct to the best of may knowledge, information and belief.

Date:                                                          __N/A__________________________________

                                                               _______________________________________
                                                               Print Name and Title




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                             UNITED STATES BANKRUPTCY COURT
                                          Western District of Washington
In Re Jeremey K. Brown and Lisa M. Brown, Debtors                                   Case No.   Chapter 7

                    CHAPTER 7 INDIVIDUAL DEBTOR’S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

Property No. 1
Creditor’s Name:                                          Describe Property Securing Debt:

B of A                                                    312 13th St., Gold Bar, WA 98251

Property will be:

         Retained

If retaining the property, I intend to:



Property is:

         Claimed as Exempt




Property No. 2
Creditor’s Name:                                          Describe Property Securing Debt:

B of A                                                    second mtg on residence

Property will be:

         Retained

If retaining the property, I intend to:



Property is:

         Claimed as Exempt




Property No. 3
Creditor’s Name:                                          Describe Property Securing Debt:


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FMC                                                      2006 Ford Fusion SEL

Property will be:

        Retained

If retaining the property, I intend to:



Property is:

        Claimed as Exempt




Property No. 4
Creditor’s Name:                                         Describe Property Securing Debt:

Wells Fargo                                              2000 Ford Explorer

Property will be:

        Retained

If retaining the property, I intend to:



Property is:

        Claimed as Exempt




Property No. 5
Creditor’s Name:                                         Describe Property Securing Debt:



Property will be:

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If retaining the property, I intend to:



Property is:




Property No. 6
Creditor’s Name:                                            Describe Property Securing Debt:



Property will be:



If retaining the property, I intend to:



Property is:




PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed
for each unexpired lease. Attach additional pages if necessary.)

Property No. 1
Lessor’s Name:                            Describe Leased Property:           Lease will be Assumed pursuant to
                                                                              11 U.S.C. § 365(p)(2):




Property No. 2
Lessor’s Name:                            Describe Leased Property:           Lease will be Assumed pursuant to
                                                                              11 U.S.C. § 365(p)(2):



Property No. 3
Lessor’s Name:                            Describe Leased Property:           Lease will be Assumed pursuant to

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                                                                          11 U.S.C. § 365(p)(2):



Property No. 4
Lessor’s Name:                       Describe Leased Property:            Lease will be Assumed pursuant to
                                                                          11 U.S.C. § 365(p)(2):



Property No. 5
Lessor’s Name:                       Describe Leased Property:            Lease will be Assumed pursuant to
                                                                          11 U.S.C. § 365(p)(2):




______ continuation sheets attached (if any)

I declare under penalty of perjury that the above indicates my intention as to any property of my estate
securing a debt and/or personal property subject to an unexpired lease.


          November _16___, 2010                /s/ Jeremey K. Brown
                                               Jeremey K. Brown


          November _16___, 2010                /s/ Lisa M. Brown
                                               Lisa M. Brown
B10-119




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